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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


BUMGU KIM                                         :
                                                  :
                                                  :
       v.                                         :   Crim. No. CCB-07-0395
                                                  :   (Civil No. CCB-12-884)
                                                  :
UNITED STATES OF AMERICA                          :
                                                  :

                                        MEMORANDUM

       Bumgu Kim is serving a 120-month sentence in the custody of the United States Bureau

of Prisons after pleading guilty to conspiracy to distribute and possess with intent to distribute

methylenedioxymethamphetamine (“MDMA”) in violation of 21 U.S.C. § 846 and conspiracy to

launder money in violation of 18 U.S.C. § 1956(h). He now attacks that sentence via a motion

brought under 28 U.S.C. § 2255. He argues (1) that the sentencing court improperly calculated

the quantity of MDMA foreseeably implicated in his conspiracy when calculating the

recommended range of punishment under the United States Sentencing Guidelines and (2) that

his counsel’s representation was constitutionally inadequate. No hearing is necessary to the

resolution of Kim’s motion. See 28 U.S.C. § 2255(b). For the reasons explained below, that

motion will be denied.

                                         BACKGROUND

       Pursuant to a plea agreement, Kim pleaded guilty to conspiring to distribute and possess

with intent to distribute more than 200 kilograms of MDMA and to launder proceeds from the

sale of those drugs. (See Opp. Mot. Vacate, Ex. 1, Plea Agreement 4–5, ECF No. 78; Opp. Mot.

Vacate, Ex. 2, Plea Tr.17–20, ECF No. 78.) During his plea colloquy, he expressed some


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hesitation as to the quantity of MDMA foreseeably implicated in his conspiracy, but ultimately

stipulated as to quantity after his counsel explained, on the record, the concepts of conspiracy

and foreseeability to him. (See Plea Tr. 20.) Notwithstanding that stipulation, Kim demanded

the government prove for purposes of sentencing the foreseeable quantity of drugs at an

evidentiary hearing. (See Opp. Mot. Vacate, Ex. 3, Evidentiary Hearing Tr. 3–4, ECF No. 78.)

At that hearing, the court concluded that the government had carried its burden of proof. (See

Evidentiary Hearing Tr. 59–62.) Based in part on the quantity of MDMA foreseeably implicated

in the conspiracy, the court calculated that the Sentencing Guidelines advised a term of

imprisonment of between 151 and 188 months. (See Opp. Mot. Vacate, Ex. 4, Sentencing Tr.

12–13, 44, ECF No. 78.) After consideration of the factors listed in 18 U.S.C. 3553(a), however,

the court varied from the Guidelines and imposed a sentence of 120 months. (See Sentencing Tr.

45.) The court reasoned, in part, that as an alien Kim was likely to suffer removal following the

completion of his sentence and that, during his incarceration, he would be “subject to more

stringent conditions in some ways than if he were a U.S. Citizen.” (See Sentencing Tr. 44.)

       Kim appealed his sentence. (See Notice of Appeal, ECF No. 133.) Among other claims,

he argued “that the Government failed to meet its burden of proof in establishing the amount of

MDMA attributable to him.” United States v. Kim, 411 F. App’x 641, 642 (4th Cir. 2011) (per

curiam). The Fourth Circuit affirmed in an unpublished per curiam opinion, rejecting Kim’s

appeal on that ground and all others. Id. at 643.

                                           ANALYSIS

I. Drug Quantity

       Kim’s prior appeal forecloses his objection to the sufficiency of the evidence supporting



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the sentencing court’s conclusion as to the quantity of foreseeable MDMA implicated in his

conspiracy. “[I]t is well settled that [a federal prisoner] cannot ‘circumvent a proper ruling . . .

on direct appeal by re-raising the same challenge in a § 2255 motion.’” United States v. Dyess,

730 F.3d 354, 360 (4th Cir. 2013) (quoting United States v. Linder, 552 F.3d 391, 396 (4th Cir.

2009)). On appeal to the Fourth Circuit, Kim unsuccessfully attacked the sufficiency of the

evidence supporting the sentencing court’s drug quantity calculation. He now asserts that same

challenge again. The court accordingly rejects it.

II. Ineffective Assistance of Counsel

         Kim argues that his attorney rendered ineffective assistance of counsel. Specifically,

Kim asserts that his attorney performed deficiently (1) by failing to allow Kim to possess certain

discovery documents, (2) by failing to call as a witness in his evidentiary hearing the forensic

chemist who analyzed drugs seized in Kim’s case, and (3) by failing to seek a downward

departure from the recommended sentencing range on the basis of Kim’s status as a removable

alien.

         When a petitioner alleges a claim of ineffective assistance of counsel, he must show both

that counsel’s performance was deficient and that the deficient performance prejudiced his

defense. See, e.g., Strickland v. Washington, 466 U.S. 668, 687 (1984). To demonstrate

deficient performance, a petitioner must overcome the “‘strong presumption’ that counsel’s

strategy and tactics fall ‘within the wide range of reasonable professional assistance.’” Burch v.

Corcoran, 273 F.3d 577, 588 (4th Cir. 2001) (quoting Strickland, 466 U.S. at 689). To

demonstrate prejudice, a petitioner “must show that there is a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have been different.”



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Strickland, 466 U.S. at 694. In the context of a plea bargain, that standard requires proof of “a

reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and would

have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985). Kim fails to make

either showing here.

       Kim first asserts that his counsel’s refusal to allow him physical custody of certain

discovery obtained from the government constituted deficient performance because it amounted

to a violation of due process as construed in Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny. He does not allege that he was not allowed to review particular materials, only that he

was not allowed to possess them. As Kim’s attorney explained to him in a letter, however, “U.S.

Attorney’s Office policy does not allow Federal Defendants to have their Discovery at the jail.”

(Mot. Vacate, Ex. B, Letter from Kramer to Kim, Apr. 30, 2009, ECF No. 234.) Given the risk

of retaliation against cooperating witnesses, the government’s policy is reasonable. Kim has

shown no prejudice, and his attorney’s compliance with that policy does not amount to deficient

performance.

       Kim next objects to his attorney’s failure to call as a witness at his evidentiary hearing the

forensic chemist who analyzed the drugs seized in his case. Had his attorney done so, Kim

argues, that chemist “would have confirmed that the amount of methamphetamine found in the

seized drugs was far less than . . . the amount required to trigger a mandatory minimum

sentence” under 21 U.S.C. § 841(b)(1)(A)(viii) (Mot. Vacate 26.) But Kim pleaded guilty to a

conspiracy involving MDMA, not methamphetamine, and that crime carries no mandatory

minimum sentence.

       Kim also argues that the chemist would have demonstrated that the quantity of MDMA in



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the analyzed pills was lower than the amount used by the court in its drug quantity

determination. That drug quantity analysis, however, was not based exclusively on evaluation of

the seized tablets; the court also looked to evidence contained in a drug ledger discovered at

Kim’s home, the seizure from a storage locker in October 2007, and recorded phone calls in

which Kim discussed orders for very large quantities of MDMA. (See Evidentiary Hearing Tr.

60–61.) Indeed, Kim was sentenced on the basis of the quantity of MDMA foreseeably

implicated in his conspiracy, not the quantity of MDMA the government had actually seized and

analyzed. At the hearing, a DEA drug agent testified that, based on a conservative reading, the

ledger recorded receipt of over 825,000 MDMA tablets. (See Evidentiary Hearing Tr. 37.) Even

if the chemist’s testimony were consistent with Kim’s analysis of the data, the quantity of

MDMA recorded in the ledger was over three times greater than that necessary to support Kim’s

sentence. (See Evidentiary Hearing Tr. 50.) Refusing to call such a witness is not deficient

performance. Even if it were, that deficiency would not have prejudiced Kim’s defense.

       Last, Kim claims his attorney failed to seek a downward departure on the basis of Kim’s

status as a removable alien, which is likely to render his confinement more severe than that of a

citizen. The record rebuts that contention. At sentencing, Kim’s lawyer did emphasize that

Kim’s alien status would deprive him of benefits available to citizens, including access to certain

drug counseling programs and good time credits. (See Sentencing Tr. 30.) And the court

emphasized the increased stringency of Kim’s conditions of confinement, as a removable alien,

when explaining its downward departure from the advisory guidelines range. (See Sentencing

Tr. 45.) There is thus no basis in the record for Kim’s claim.




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III. Certificate of Appealability

       After a district court denies the entirety of a motion under 28 U.S.C. § 2255, a prisoner

may only appeal that decision if a “judge issues a certificate of appealability.” 28 U.S.C. §

2253(c)(1)(B); see also Fed. R. App. P. 22(b)(1). Accordingly, “the district court must issue or

deny a certificate of appealability when it enters a final order adverse to the applicant.” Rule

11(a), Rules Governing Section 2254 & 2255 Proceedings in the United States District Courts.

       A certificate of appealability may issue “only if the applicant has made a substantial

showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). Where a district court

rejects a prisoner’s claims on the merits, that standard is met if the prisoner “demonstrate[s] that

reasonable jurists would find the district court’s assessment of the constitutional claims debatable

or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S.

473, 484 (2000)), or that “the issues presented were adequate to deserve encouragement to

proceed further,” Miller-El v. Cockrell, 537 U.S. 322, 336 (2003) (quoting Slack, 529 U.S. at

484). Where a district court rejects a prisoner’s claims “on procedural grounds without reaching

the prisoner’s underling constitutional claim,” the prisoner must show, “at least, that jurists of

reason would find it debatable whether the petition states a valid claim of the denial of a

constitutional right and that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling.” Slack, 529 U.S. at 484. Kim’s claims do not meet those

standards and no certificate of appealability will issue.

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                                       CONCLUSION

       For the reasons stated above, Kim’s motion under § 2255 will be denied and a certificate

of appealability will not issue.

       A separate order follows.




January 13, 2015                                          /S/
Date                                               Catherine C. Blake
                                                   United States District Judge




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